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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


RONALD W. WALDEN, JR.,

       Plaintiff,                                     Civil Action No: 3:22-cv-00378-JAG

       v.

SOUTHPARK MALL CMBS, LLC,
a Delaware Limited Liability Company,

MACY’S RETAIL HOLDINGS, LLC,
an Ohio Limited Liability Company,

and

SOUTHPARK MALL-DSG, LLC,
a Virginia Limited Liability Company,

       Defendants.


                            STIPULATION OF SETTLEMENT


       PLEASE TAKE NOTICE Plaintiff Ronald W. Walden, Jr. and Defendants Southpark

Mall CMBS, LLC, Southpark Mall-DSG, LLC, and Macy’s Retail Holdings, LLC (together,

“Parties”) reached an agreement regarding all disputed issues in the case, including attorneys’

fees and expenses, as evidenced by the Agreed Order of Dismissal endorsed by all parties, and

attached to this Stipulation as Exhibit A. Accordingly, the parties request that the Court enter

the attached order and remove this action from the Court’s docket.
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                                    Ronald W. Walden, Jr.



                                    By: /s/ Deborah C. Waters
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                                    Southpark Mall-DSG, LLC
                                    Macy’s Retail Holdings, LLC


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                                    Robyn H. Hansen, Esquire
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                                    Counsel for Defendants



                         CERTIFICATE OF SERVICE


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       I hereby certify that on the 14th day of October 2022, I filed the foregoing Stipulation of

Dismissal via the Court’s CM/ECF system, which will make electronic service on the following:

       Brian G. Muse, Esquire
       Robyn H. Hansen, Esquire
       SANDS ANDERSON PC
       263 McLaws Circle, Suite 205
       Williamsburg, VA 23185



                                            By: /s/ Deborah C. Waters
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                                                    Counsel for Plaintiff




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